Case 1:23-mj-00507 Document 3-1 Filed 01/29/24 Page 1 of 4 PagelD #: 5

ATTACHMENT A

l. This warrant authorizes the forensic examination of the below described items for
the purpose of identifying the electronically stored information described in Attachment B.

2. An APPLE ICLOUD ACCOUNT associated with <rhbdc@icloud.com> that was
stored at premises owned, maintained, controlled, or operated by Apple, Inc., a company
headquartered at | Infinite Loop, Cupertino, California, 95014, and is currently located at the
FBI-Wilmington Resident Agency, 500 Delaware Avenue, Suite 300 Wilmington, Delaware,
19801.

3. APPLE ICLOUD BACKUP DATA located in the iCloud account data associated
with <rhbdc@icloud.com> contained within Apple Production 19275210 received on or about
September 25, 2019, pursuant to a prior search warrant for the Apple email account
<rhbe@icloud.com>. The APPLE ICLOUD BACKUP DATA associated with
<rhbdc@icloud.com> and that will be searched includes the following specific device
information:

a. A backup of Apple iPhone X Device Identification
D_8c¢78970d9dda9fSdbe 1625b3 1 lefc72a6c50f68f (“Apple Backup 1”);

b. A backup of Apple iPhone 6S Device Identification
D_cdbe6900fc533da66a6c28169158d05cfb419a70 (“Apple Backup 3”); \

c. A backup of Apple iPad Pro Device Identification
D_£846713a36c06653457179e18582aalc478e8db4 (“Apple Backup 4”);

d. A backup of Apple iPhone XR Device Identification
D_al5b4al173b8ee009ee9adb908be74e4db6 1 8a323 (“Apple Backup 11”).

(Collectively, the APPLE ICLOUD BACKUP DATA)

4. The APPLE ICLOUD BACKUP DATA is currently located at the FBI-
1
Case 1:23-mj-00507 Document 3-1 Filed 01/29/24 Page 2 of 4 PagelD #: 6

Wilmington Resident Agency, 500 Delaware Avenue, Suite 300, Wilmington, Delaware, 19801.
5. An (1) Apple MacBook Pro Laptop Computer; Serial Number
FVFXC2MMHV29 (“MACBOOK PRO”); and (2) Western Digital External Hard Drive; Serial
Number WX21A19ATFF3 (“EXTERNAL HARD DRIVE”). The MACBOOK PRO and the
TARGET HARD DRIVE are currently located at the FBI-Wilmington Resident Agency, 500

Delaware Avenue, Suite 300, Wilmington, Delaware, 19801.
Case 1:23-mj-00507 Document 3-1 Filed 01/29/24 Page 3 of 4 PagelD #: 7

ATTACHMENT B

1. All records on the items described in Attachment A that are evidence of violations
of 18 U.S.C. §§ 922(a)(6) and 924(a)(2) related to making a false statement during a background
check to deceive a firearms dealer, violations of 18 U.S.C. § 924(a){1)(A) related to making a
false statement during a background check on records that the firearms dealer was required to
maintain, and violations of 18 U.S.C. $§ 922(g)(3) and 924(a)(2) related to illegal possession of
a firearm by Robert Hunter Biden, during the time period of January 1, 2018 to December 31,

2018, including:

a. All evidence relating to addiction, substance use, and controlled substances, to
include conversations, messages communications, photographs, documents, and
videos.

b. Evidence indicating the state of mind of the owner and user of the devices as it
relates to the crime under investigation.

c. Evidence of user attribution showing who used or owned the item at the time the
things described in this warrant were created, edited, or deleted, such as logs,
phonebooks, saved usernames and passwords, documents, and browsing history;

2. This warrant authorizes a review of electronic storage media and electronically
stored information seized or copied pursuant to this warrant in order to locate evidence, fruits,
and instrumentalities described in this warrant. The review of this electronic data may be
conducted by any government personnel assisting in the investigation, who may include, in
addition to law enforcement officers and agents, attorneys for the government, attorney support
staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the
seized or copied electronic data to the custody and control of attorneys for the government and

their support staff for their independent review.
Case 1:23-mj-00507 Document 3-1 Filed 01/29/24 Page 4 of 4 PagelD #: 8
